

















IN THE COURT OF CRIMINAL APPEALS


OF TEXAS






NO. WR-75,294-01






EX PARTE JUAN GILBERTO HERNANDEZ GARCIA, Applicant








ON APPLICATION FOR A WRIT OF HABEAS CORPUS


CAUSE NO. 03-CR-684-D IN THE 103RD DISTRICT COURT
FROM CAMERON COUNTY 




	Per curiam.

		

O R D E R



	Pursuant to the provisions of Article 11.07 of the Texas Code of Criminal Procedure, the
clerk of the trial court transmitted to this Court this application for a writ of habeas corpus. Ex parte
Young, 418 S.W.2d 824, 826 (Tex.Crim.App. 1967). Applicant was convicted of murder and
sentenced to imprisonment for life. The Thirteenth Court of Appeals affirmed his conviction. Garcia
v. State, No. 13-03-00722-CR (Tex. App.-Corpus Christi-Edinburg July 13, 2006, pet. ref'd). 

	On November 30, 2010, the trial court signed an order designating issues . The habeas record
has been forwarded to this Court prematurely. We remand this application to Cameron County to
allow the trial court to complete an evidentiary investigation and enter findings of fact and
conclusions of law.

	This application will be held in abeyance until the trial court has resolved the fact issues. The
issues shall be resolved within 90 days of this order. If any continuances are granted, a copy of the
order granting the continuance shall be sent to this Court. A supplemental transcript containing all
affidavits and interrogatories or the transcription of the court reporter's notes from any hearing or
deposition, along with the trial court's supplemental findings of fact and conclusions of law, shall
be returned to this Court within 120 days of the date of this order. Any extensions of time shall be
obtained from this Court. 

Filed: March 9, 2011

Do not publish 


	


